Exhibit A-i
UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF MISSOURL

DIVISION
Janet L Austell, Pro Se )
) Complaint for a Civil Case -.
) AMENDED CIVIL COMPLAINT
)
V. )
City of Pagedale-Eddie Srnmens IR, )
Sam-Jd-AHen-Peltee Officer Brown-Pelice- Case No, 4:22-cv-01006-AGF
Officer Cul—
Plaintiff requests trial by jury:
FT Yes

CIVIL COMPLAINT

I.

The Parties to This Complaint
A. The Plaintiff(s)

Name Janet L. Austell

Street Address 1149 Orchard Lakes Drive

City and County St. Louis County

State and Zip Code MO 63146

Telephone Number (314) 737-2904

E-mail Address  JAUSTELL@ICLOUD.COM

B. The Defendant(s)
Defendant No. |

Name City of Pagedale

Job or Title A Municipal Corporation
Street Address 1420 Ferguson AVE

City and County Pagedale, St. Louis County
State and Zip Code MO 63133

Telephone Number (314) 726-1200

E-mail Address
Defendant Ne

deb-er-Fitle Pa gedale-Cin-Atterney
Street Address —_—_1420 Fereusen AVE
State-and-4in-cede--MO 63135
Felephene-Number—-G14)-26-1200

Ee a i f A dey BE mere rn
Name-—---—-—-----—-C- o f Pagedale Eddie Simmons, dR

Street Address-——----142.0-Ferensern-AAs
City-and-County—-—Pagedale, St--Louis- County

Telephone Number(344) 726-1200
H-mailAddecess-—-—

Name——___—__—+—_-Cin-ef Pasedale- Police Oficer-Brawn-Badge HO-1S41
Job-or-Hitle-——~---- Felice Ol eer-
Street-Address-———142.0 Fersusen AVE
CHy-and-County———Pasedate-St-ber His County-
State-endZip-Cade—MO-63133

‘Felephone-Number- (3-14). 726-4200

Defendant Ne-S

Name--—~----------- Cty- of Pa gedale Police OMicer- Cull Badge NO-1541-
Job-or-Titte- —__--_Pehee- Officer

Sireet Address—-——-—-142.0- Ferguson AVE

Gis-and- County—Paeedale- St-Loun-County—
State-and4ip-code—Mo-63433

Telephone-Number—(XXX-XX-XXXX

Basis for Jurisdiction

A. Federal question

1. Federal jurisdiction is proper pursuant to 28 U.S.C. §1331 because Plaintiff's claims
arise under 42 ULS.S. §4-984,-§1983,-41988, and the United States Constitution.

2. Venue is proper in this Court because the incident and actions alleged in this
Complaint occurred within the distcict and all defendants reside herein.

B. Suit against the Federal Government, a federal official, or federal agency

List the federal officials or federal agencies involved, if any.

c. Diversity of Citizenship

‘These are cases in which a citizen of one State sues a citizen of another State or nation,
and the amount at stake is more than $75,000. In a diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

1. The Plaintiff(s)

The plaintiff, (name) , is a citizen of the
State of (name)

2. The Defendant(s)

Tf the defendant is an individual

The defendant, (name) , 18 a citizen
of the State of (name) Or is a citizen
of (foreign nation)

If the defendant is a corporation

The defendant, (name)

is incorporated under the laws of the State of (name)

,andhasits principal place of -

business in the State of (name) Or

is incorporated under the laws of the State of (foreign nation)
,and hasits principal place

of business in (name)

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3. The Amount in Controversy

The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
owes or the amount at stake----can only be fairly estimated by a court of law
_ because fear, emotional trauma, and deprivation of use of property are subject to
interpretation by a jury, legal professionals, and medical professionals.

Yi. Statement of Claim

Background Information
4, 1(Janet L. Austell) the plaintiff currently live at 1149 Orchard Lakes Drive in St. Louis
County, MO, 63146. Under Title VJT Protected Classes of the Civil Rights Act of 1964. |

am a inember of a orotected class because of race, color, sex, ave, and disability. lam a 70

years old female of African descent with multiple medical conditions, of which one

medical condition is disabling. I purchased 1539 Faris Ave located in the municipality of
Pagedale in St. Louis County, MO, 63133 for payment of back taxes in 2014; I took

ownership of 1539 Faris Ave in 2015, I have used this property since 2015, obeying all
local, state, and federal laws. I formerly owned 1540 Faris Ave and sold it in 2020.

5. Kepresesiatives-of the-Cuy of Pagedale-Missourt-have-threatened-me,herassed-me,and-
vielated-my-eivilriehts tn 2020-the plaintiff and-detendants-in-case-¥-02596-SRC-
violated -Exhibi-Ais-o-representation-of the-setlementin- CV-02596-Multiple-vielatons-
ofmay-cnil-riehts-and-harassing- Chreating and intimidation)-activities-by-representative of
the City-of Pavedale-have-cceurred before 2020-and-subsequeattothe-settlement-reached-
in-2020-(CV-02596- SRC} most recently-in- September 2022,-See-Lxhibit B-fore
representation -of the most-recent-threating-pressuretactic_Kepresentatives-of the City of-
Pagedale previeush used _threats-and intimidation-on-others-and-i-4-consent decree for -the-
elass-action-of Whitneretely-- Git of Paeedale-415-C¥--04655-were-ordered-to-stop-sueh-

actions Defendant acting under color of law threatened me, harassed me, and violated my

constitutional civil rights. Defendant’s abuse of power granted by virtue of state law took

the form of the defendant issuing warnings and citations for ordinance that are invalid,

removing my personal property (and property Lam legally responsible for} from 1539 Faris

without advance notification. my permission, and authorization in the form of orders by a

court. Multiple violations of my civil rights and harassing (threatening and intimidating)

activities by the defendant have occurred previously and a settlement was reached in 2020

in Case No. 4:19-cv-02596-SRC_ see Exhibit A for a copy representing the settlement

agreement, Additional instances of defendant’s unconstitutional actions started to occur

again in June 2021. In this complaint (4:22-cv-01006-AGF), | address violations of my

constitutionally granted civil rights that took place from June 2021 through October 2022,

The defendant previous unconstitutional use of policies, customs, and ordinances against

others are clearly documented in the consent decree for civil complaint Whitner et al v,

City of Pagedale, 4:15-CV-01655-R WS, in which the defendant was ordered to stop such

actions. The defendant discriminated against me by issuing warnings and citations to me

and not issuing warnings and citations to other ewners/tenants of neighboring properties

for equivalent conditions on neighboring praperties.

Claim

6-—Beginning-in-dly 2618, the Ci Mayor Carter-Chief Sinimons,and-O ficer Santh(a-
formerCity-of Pagedale Pelice- Officer} began-to-engage-it-e-series of itlegal conduct-that-
has-deprivedme-of-my-rights-underthe-equal_pretection and-due-process-elauses-oFthe-
*PV-amendment te-the- United States-Constitution-and the Me-Const-Art-1-4$2,10.-This-
began-with-a-telephone-calltrom Chief Simmons io-me,-wherein- Chief Sunmonsintermed-
me-thatifmy-son-or-parked-a-vehicle-on1539 Faris, the-vehicles-would-be-teowed--Chief
Simmons cited netegalauthority-or-reason-fer-this-threat-

7_Lalse-began-the-process-ef obtaining an-occupaney-pemmit- for-1539-Paris-intuly 2013—
Eisst-she-wastold by-the-City-Clerle-that-she-had-to-appeacin-person-te-apply.-Whent-
went-to-City-Hall-lL-wasteld bythe City-Clerkthat- she could netissue-ah-ocenpaney-
permitfor-a-vacantlotbut-would-diseussitywith Mayor-Carter.7\-feow days later, the Gity-
cleric-telephone mete-say-that Mayor Carter had-decided-that-an-eceupaney-permit could
not-be-issued for a-vacantlet—This-is-contrary_to the-Pasedale- ordinances-(see Exhibit-C)_-

whieh-de-permit-an-oceupaney-permit for atot

&—Semetime shortly aferbemeteld could not-receive-an-oceupaney-permit, Chief
Simmons-appreached-me-white-Lvas-at1540-Pans.Chief Siamens-again- stated that-
neither-ny-sen-nor-leould-park-vehicles-at-1339-Faris:

9.--“Fhe-intentional_-harassmentby the Defendants inereased-in-earnest-starting mn-Septembar-
2018 .when-Offieer Smith wrete-a-munivipal-etaterteime alecine that-|fatled-ie-contrel-
the-weeds-and-yesetation-at1535-Faris The alecations-were-baseiess-andtalse-asthe-
orass-height-on-thatday-was-tess-thanthres-inches-ial,

40-OnJanuary-6, 2019.-Officer- Smithavrote-a-munieipal ctationtoine alesing avolation-of-
the-City-s-siern-ondinance--The-allegations-were-baseless-and-false,inthatthe- onb-stens-at
41539 Baris-were-a-street number sien and four—“No-Trespassine —siens-beth-of which-are-
exemptinderthe-City-s-sier ordinance:

44-On-January 15,2019 Hnvformed city-polee- officer which appeared te-be-Oficer Smith,
mottwe-City Publie-Worlks-employees-i-a-Ccity-vehiele,at 1539 Faris, Officer Sinih-and-
anether--Fhis-was-captured-on-survettance-camera--When-t attempted te-fle-a-ernminat
complaintawith the Pasedale Palice-they-refiusedto-alliew-e-complaint-ora-report,

42-On-May13-2019--Officer Smithweete-atumicipal-eitationte-me-allesing e-elationterea-
son-hazardeus-vielation—barrier made forsignage.—Ad-this-point,t-contacted the Cipy- and
demanded-thatthe-Detendants step the-harassment

13- On May 30,2019; OfSicer Smith-ugain-swrote--municipal-eitation-te-me-allesine
vielation-of the City’s -sien-ordinanee--The alegetions-were-baseless-and-false-in-that-the-
enby-siens-at 1539 Faris-were-a-sireet- number-sien-and-four--h}“Ne-Trespassine-signs,all-
ofavhich-are-oxempt-underthe-City-s-sien-ordiianes:

14-On-Aueust-19,2049, Officer Smith-and-tve-plainelothes-city polee-officers-wrote-a-
municipal citation-and- placed it-on-my-sons-vehiele-whieh-was-parked ot 1539-Faris.The-
allepations-were-baseless-and-false-in thatthe ordinance-cited-does-not-apply-te- residential

8

property;

15,On August 22.20-15--Officer-Smith- ealed+me-and-sinted-that-imy-sen-s-vehicie-wasitegally
parked at-1539-Faris-and thai—her-superisrofficer wanted to-haveitiewed-—Lstated-thet-
if Officer Smith-oranyone else-towed-my-sons-yehicle-Lweulkd He etawent—A-shert-
tine later-e-untermed-Ciy-selice-offieerand-etewing- conpany-ftewedipy-soire vehicle

6. On or about June 17, 2021, Lreceived a warning of ordinance violation, physically posted

on the 1995 Honda Accord LX CVIN LHGCE1827SA014275) parked on my private

property at 1539 Fans. This vehicle was on loan to me and in April 2022, the owner

granied me limited power of attorney in all matters regarding this vehicle. This limited

power of attorney was notarized in August 2022 in accordance with Revised Statutes of

Missouri, RSMo Section 404.710. The warning glued to the window of this vehicle stated

“Warning abandon/derelict vehicle”, see Exhibit B for a copy representing this warning.

This warning did not include documentation of a violated ordinance, This warning did nat

require a court appearance. This is a mechanically operational vehicle, and has both valid

Missouri license plates and liability insurance as required by the state of Missouri. On or

about June 26, 2021 T mailed a letter to the City of Pagedale Police Department. In this

letter 1 stated that the 1995 Honda Accord is not an abandon vehicle, is parked on private

property, and that sinnlar issues (and patterns and practices) were previously litigated and

resolve in Case No, 4:19-cv-02596-SRC. see Exhibit C for a copy of the letter | mailed.

16.7, __T- Nevember 2024, received warning of violation (aumber 520.050) forremeval
of-debris-Linailed-a-letter-to-Officer Conley the Mayor ef the City of Pagedale,and-the-
Civy-of Pagedale-Chief of Police _Inthic-letter-Linfermedthemthatt have net-vielated-any-
ordinanees-of the-City-of Pagedale in-accordance-to-the-consent-deeree-for- Whiner etaby—
City-of Pasedale-4415-CV-01655-and resulting repeal of all ordinances+elating-to-

vegetation i-eddition te-repeal- oF other-ordinances: On or about October 11, 2021.1

9

received a warning about of violation ordinance ($20.50) identified by the identifier of

W2 100390, see warning in Exhibit D. This warnine states “Violation of #$20.050

rEMOVAL OF DEBRIS ...”’.. This warning did not require court appearance, Since about

2019. | have a service that maintains my vard at 1539 Faris AVE to my specifications. My

property is about 160 feet in leneth with a fence in the rear (the west boundary); | own this

reat fence, Neighboring property owners own the north and south fences bordering my

property, Vevetation on the north and south fences have roots originating on neighboring

properties. 1 cultivate (perennials and annuals) plants on about 30 feet of the western rear

area of my lot. This cultivated area does not contain uncontrolled obnoxious weeds.

Ordinance 526,50 is in the City of Pagedale’s online ordinance e-book (at ecode360,com)

as Chapter 520, which is titled Revistration of Abandoned Residential Property, see Exhibit

E, My pronerty at 1539 Faris is not abandoned. [ have not violated ordinance 520,50 of the

City of Pagedale in action (or by failine fo maintain vegetation at 1539 Faris). In addition,

the consent decree for Whitner et al v. City of Pagedale, 4:15-CV-01655-RWS repealed all

ordinances relating to vegetation (and other ordinances), | have not violated a City of

Pavedale ordinance. On or about November 1, 2021, | mailed a letter to the defendant (see

Exhibit F for a copy representing this letter), stating that my property does not contain

drash, punk, or debris. Lalso asked the defendant to stop harassing me. | stated that I have

not violated any City of Pagedale ordinances.

$28. On or about August 12, 2022, Officer-Culithe defendant issued a warning (see

Exhibit G) for an abandon vehicle. On or about August 29, 2022, I mailed a letters (which

included a copy of the citation) to Offeer Cull-the-Mayor-of-the-CHy- of Pasedale-andthe-
City ef Pasedale- Chief ef Poleethe defendant-onAugust29, 2022. In this letter (sec_
Exhibit H), I stated that the 1995 Honda Accord is a licensed vehicle in accordance with all
Missouri laws, insured, and mechanically operational.

10

(W2200209) for tall grass and vegetation on the fence line and vacant lot, (see Exhibit 1).

This citation did not cite an ordinance chapter and/or section of the ordinance, See

paragraph 7 for mv claim about vegetation (on my property and neiphborine property) and

my property boundaries +matledtetters-te-Officer Cul tie-Mayor-of the-CHy-of Pagedale-

and the-City-of Pasedaie- ChieF-eF Pohee-on- August 29. 2022sce paragraph 8. -tathistetter,
L-state-that-iny preperty issvel maintained, no-such-ordinance exists,-and the -1995-Honda-
Acoordis-aticensed -vehicle-in-accordance-with-ail Missour-laws, msured,-and-
49-On-Aveust- 30,2022, Officer Brovarsrete asvarning-yielation for-a-derelet-vehiele-whick-
was-mailedto-me-in-the-same-cavelopedtaddressedte Janet and AHred-Avstelh-as-the-
10. On or about September 18, 2022, I received aa-a series of emails from SamAltenthe.
defendant-represesting-the City of Pagedale,. see Exhibt-AExhibit J. This series of email
contains a threat against me to obtain an administrative warrant, without-stetiag This email
did not cite an ordinance that I have-violated. When I replied to the emailemail asking for.

Mr—AHenthe defendant forean-erdinance numberto, “Please provide me with the

ordinance(s) that states, | cannot park a properly licensed vehicle on my property”, -his-the

next responding emails became-dictatorial-which-+-pereeivedwas as-insulting and
threatening. Is-Mr-—Adten’s email he -specifically-mentions-the neighbor atts Fans Ave-

supporting: the-faet that-representatives-ef the-City of Pagedale-are-Ametioning tia

conspiratorial Lnannerwith-this-neighboring- family] told the defendant explicitly in my

email that the 1995 Honda Accord is an operational, properly Missourt licensed vehicle

and insured as required by law. Lalse told him that he does not have my permission to

remove this vehicle,

The defendant tn this chain of emails:

a. Told me to remove the 1995 Honda Accord or grant him permission to remove

11

it (explicitly stated “You do not have my permission ...y"

b, Threatened to get an administrative warrant to enter on te my property and

remove the 1995 Honda Accord

c, Declared the 1995 Honda Accord is an abandon vehicle.

11. On or about October 4, 2022. T received a citation, I also received a letter from the

defendant on or about October 4. 2022. This citation shown in Exhibit K cites a violation

for ordinance code 500.010, “FATLURE TO CONTROL WEEDS-VEGATION

OVERGROWTH OF VEGATATION AND HIGH WEEDS ON FENCE AND REAR OF

PROPERTY — 84029990. see Exhibit L for copy of Chapter 500 of Pagedale’s

Ordinance/Code.”’ In the letter | received, the defendant stated that the 1995 Honda Accord

parked at 1539 Faris is inoperable and danecrous, and my property contained “weeds and

vegetation — Nuisance”: | have included pages | and 2 of the letter in Exhibit M. 1 did not

attach pages 4. and 5. which are additional pictures of the 1995 Honda Accord. The

ordinances cited in this letter were 215,040, 215.680, 500.010, 619.010, 619.050, and

619,060, The defendant's threats to remove the 1995 Honda Accord are unconstitutional

threats. based on false statements te deprive me of my property.

a. Chapter 500 of the City of Pagedale’s ordinance /code (shown in Exhibit L) is titled

“Adoption of Building Codes and Building Regulations.” Ordinance 500.010, states

“Adoption of County Codes,” Exhibit L was taken from ecode360,com the City of

Pagedale’s online documentation of ordinances and municipality codes,

b. Ordinance 500.010 does not contain any text referring to vegetation (see Page | of

Exhibit L for information about ordinance/code 500.010), The detendant violated

consent decree for case 4: 15-cy-01655-R WS.

c. Ordinances 715.040 and 215.080 were repealed by consent decree for case 4: 15-

cv-01655-RWS. The defendant violated consent decree for case 4: 15-cv-01655-

12

RWS.

d._ The City of Pavedale repealed ordinances in Chapter 619 including ordinances

619.016. 619.056, and 619,060, see Exhibit N for information extracted from

ecode360.com the City of Pavedale’s online documentation of ordinances/codes.

No fext exist in ecode360.com to provide context to what is covered in code 619,

The defendant violated consent decree for case 4. 15-cy-01655-R WS.

On or about October 24, 2022, workers representing the City of Pagedale removed plants

and eneineering site markers. These site markers were for an Exploration of Subsurface

Conditions and Foundation Recommendation engineering study. L paid $2,600 to Scott

Knese of SRE General Construction (using the services of Jacobi GEOTECHINCAL

Eneomecrine, INC) for this study and installation of site marker, The defendant with intent

violated consent decree for case 4: 15-cv-01655-R WS and with both malicious and

reckless disregard violated my due process rights,

a, Defendant did not have my permission to enter onto my property,

6b. Twas not given an arraignment.

c. | was not piven a trial,

d. {was not served with a court order or a warrant.

Defendant deprived me of my property and my rights, eranted by both the

&

Constitution and law.

In addition. on or about October 24, 2022, the operational 1995 Honda Accord with legal

Missouri plates and insurance was towed from my private property at 1539 Faris, On Faris

there are two neighboring properties with vehicles parked in private driveways that do not

have any license plates on them: one of these vehicles has been without plates for more

than 3 years. One block west of Faris on Bradford there is a vehicle parked on a private

driveway without anv license plates (and in a state of disrepair) for more than | year.

13

Removal the 1995 Honda Accord from the driveway of 1539 Faris by the defendant is

discrimination (mequal treatment). By not allowing me to park ihis legaliy licensed and

insured vehicle without interference or towing but allowime other without valid plates to

keep their vehicle the defendant have deprive me of my constitutional rights. The

defendant violated consent decree Tor case 4. [5-cv-01655-R WS.

This vehicle was taken without my permissions or knowledge.

Removal of this vehicle by the defendant from 1539 Faris inflicted damages

both for deprivation of my use of the 1995 Honda Accord and cost | would

incur for a replacement of the same make and model, and operational condition,

The NADA Kelly Blue Rock value for this 1995 Honda Accord does not

accurately reflect the operational, functional, and nostalgic value of this 1995

Honda Accord: therefore the City of Pagedale cannot adequately compensate

me for the takine of this property,

{am a legally authorized user of this vehicle and I have legal authorization from

the owner to make all decisions regarding this vehicle.

This vehicle was legally parked on an asphalt and concrete driveway on my

private property at 1539 Faris,

This vehicle was towed by the defendant without court orders (advance

notification) to me for the legally titled owner}. The only indication given that

this 1995 Honda Accord would be towed is in the letter from the defendant: see

paragraph 11.

Defendant violated my rights to due process.

a. [was not served a cation.

b. Iwas not given an arralonment hearing

c. | did net receive a trial.

lL was not served a warrant before the defendant entered on to my property and

14

12.

towed the 1995 Honda Accord.

h, Detendant under coler of law deprived me of the use of the 1995 Honda Accord

and my rights of lawfully use of 1539 Faris,

The defendant acted under color of state law, The defendant is a municipality operating

13.

under state law. According to the City of Pagedale’s Ordinance/Code website

fecode360.corn), “On the fifteenth (15th) day of February, 1950, the City of Pagedale was

incorporated as and js now a City of the Fourth Class under the laws of the State of

Missouri,” The defendant “acting under color of state or territorial law’ has deprived me of

constitutional richts and property.

Defendant deprived me of my property without due process of law in violation of the

14.

Fourteenth Amendment to the Constitution of the United States. The barm cause (io me is

stated in paragraph 6). The harm caused by the defendant is deprivation of my rights to use

the Honda Accord and make decisions concerniny the vehicle as granted by the owner and

the state of Missourt with me as an in-fact attorney. In paraetaph 7, 11, and 13, Lexplain

when, how, and what actions the defendant used to harm me and to deny me my p4h

Amendment rights to due process. The defendant violated consent decree for case 4: 15-cv-

O1655-RWS.

The defendant acting under color of law made an unreasonable and warrantless seizure of

personal property in violation of the Fourth Amendment to the Constitution of the United

States as incorporated. fn paragraph 10 and 11, | show by explaining what the defendant

did. how the defendant acted/reacted, and actions/activities the defendant used including

meritless and false ordinance (or code), issued a dictatorially order telling me fo remove a

leoally parked vehicle, threatened me, and declared a legally licensed (and insured) vehicle

abandon, The harm caused by the defendant was, | was fearful of my welfare, of being

deprived of my property (and use of my property), and the defendant deliberately (and

without reeards to my constitutional rights} denied me due process under the law, The

15

defendant violated consent decree for case 4: 15-cyv-01655-R WS.

15. The defendant acted pursuant to policy or custom removing plants and markers cred im

paragraph 11 and having the 1995 Honda Accord towed without court order and without

providing an opportunity for me to be heard in a court of law: my nehts to due process

under the Fourteenth Amendment, The defendant violated consent decree for case 4: |5-

ov-01655-RWS.

16. Defendant failed to adopt clear policies and failed to train officials as to the proper

procedures for writing warnings, issuing citations, communicatine with me. Using a

warning that does not contain a valid ordinance demonstrates a training failure by the

defendant. The defendant using patterns and practices previously litigated Gin case number

4:15-cv-01655-R WS) shows (1) a threat (and harassment), (2) indifference and disregard

for mv constitutional rights. The harm caused by the defendant is that 1 was fearful of both

nry welfare and depravation of my property (and restrictions on the use of my property).

The defendant’s actions of disobeving court orders (in consent decree 4:15-cv-01655-

RWS) shows patterns and practices that are contemptuous disobedience with the intent to

deprived me of constitutional rights.

17. The defendant knowingly acted with intentional (and complete) and deliberate disregard

for my civil rights eranted by the Constitution. The City of Pagedale has knowingly and

with infentional disregard and malicious intent violated injunctions in case no. 4:15-cy-

01655-R WS. Finalization of these injunctions was on May 21, 2018. see paragraph 12, 29,

30. and 31 of case no. 4:15-cv-01655-R WS, which states (72) Within ninety (90) davs of

the Effective Date, the City shall develop and implement all necessary ordinances ane

policies as described herein to ensure that any individual ticketed by the City and

appearing before the Pagedale Municipal Court (a “defendant") is afforded

constitutionally sufficient process pursuant to the Fourteenth Amendment... (29) Within

one hundred twenty (120) days of the Effective Date, the City shall repeal: Chapter 213

16

fentitled "Nuisances"), Articles Tund UIs and Chanter S15, Article I (Minimum Housing

Standards") of the Code and replace such chapters with an ordinance udopline, oF

ordinances substantially in the form of, the St. Louis County Property Maintenance Cede,

Chapter _1110 Title XI, Public Works and Building Regulations-Adoption_ of laternational

Property Maintenance Code, Year 2009 Edition... (30) The City shall ensure that any

provision of the Code repeated or modified pursuant to this Consent Decree shall remain

repealed or modified and shall not be replaced with any similar ordinances or policies,

whether formal or informal,.. (31) The City shall only issue citations for violations of

specific provisions of the Code. The City shall cease licketine, and shall cease threatening

to ticket, individuals for conditions not specifically mentianed in the Code... ln paragraphs

6 - 12, Lshow the City of Pagedale’s actions in 2021 through 2022 yiolaies a previous

(2020) settlement agreement shown in Exhibit A (in case no. 4:19-cv-02596-SRC) made

with me. In case 4:19-cy-02596-SRC the City of Pagedale used practices of meritless

issuing warnines/citations, fabricating ordinances, trespassing, threats, harassing tactics,

taline of Honda Accord LX VIN [HGCEI827SA014275, and deprivation of use of

property with the intent to force me to obey dictatorial orders not based on any law.

Patterns and practiced used by defendant in case numbers 4:15-cv-O1655-RWS and 4:19-cv-

02596-SRC are evidence that the City of Pagedale acted in accordance with established habit/

routine, customs, and/or policies and will use the same tactics against me in the future. The

defendant violated injunction for case 4: 15-cv-01655-RWS.

. The defendant’s formal and informal policies (and/or customs) including written (and/or

unwritten) were a direct and proximate cause of the constitutional deprivation suffered by

me, see paragraph 17 for more information. Paragraphs 6 — [1 describes the defendant

using patterns and practices based on policies and customs to issue warnings, citations,

letters. and emails that resulted in me being harmed: deprived of my property and

constitutional rights and the defendant violation of consent decree for case 4: 15-cv-01655-

1?

RWS.

a. Customs/policies the defendant failed to perform was to include specific

ordinance/code I allepediv violated on “all citations, summonses, arrest notification

forms, and other chareing documents the charees brought” (as staied in consent

decree 4:15-cv-016055-R WS).

b. The defendant failed ta develop and invplement ordinances and policies as

described in case no. 4:15-ev-01655-R WS.

c, The defendant failed te ensure that L was afforded constitutionally sufficient

process, pursuant to the Fourteenth Amendment.

19. The defendant’s failure te adopt clear written policies and failure to train personnel on

proper application of ordinances and determining active ordinances were a direct and

proxtinate cause of the constitutional deprivation that I suffered, In paragraph 6, 7, 8, 9.1

explain that the defendant used meritless and false warnings without identifying an active

ordinance/code. Missouri RSMO 575.80 prohibits intentionally making a false report. The

defendant knowinely and intentional issued false, meritless, inaccurate warnings to cause

me harm and violating my constitutional rights. The defendant knowingly violated consent

decree for case 4: 15-cv-01655-R WS.

a. The defendant/personnel writing of warnines/citations for repealed ordinances/code

demonstrates a failure to train personal,

b, The defendant/personnel writing email/letters for ordinance/code that do not exist

shows a failure to train personnel,

c. The defendant/personnel unknowingly misstating contents of an ordinance/code

shows a failure to train personnel.

d. The defendant/personnel knowingly misstating contents of an ordinance/code

shows deliberate. intentional and reckless disregard for my constitutional rights,

20. Policies. customs. and actions of and by the defendant were the direct and proximate cause

18

af the constitutional deprivation of mv use of 1539 Paris. personal property damages, and

removal of property from 1539 Faris. The harm caused by the defendant (acting under

color of law} was to deprive me of my property (and property J am responsible for), ‘The

harm caused by the defendant was both an intentional and a deliberate disregard for my

constitutional rights. The defendant targeted me for disparate and unequal treatment (see

naraeranhs 10 and 11), This includes but is not limited to the defendant repeatedly writing

warnings/citations/letiers/emaitls for ordinances that did not apply or had been revoked

repeatedly writing citations for ordinance violations based upon knowingly false

statements, failing to allow me to enjoy the use of my properties at 1539 Paris:

darmaving/removing my property; and restricting me from legal use of my property, and

violating consent decree for case 4: 15-ev-01655-R WS.

COUNT I- VIOLATIONS UNDER 42 U.S.C. $$4084.-1983-and 1988

21. I incorporates by reference paragraphs 1-20 above.

Ad-persons-vithiathe jurisdiction-of the-United-States shall have the same-rightin-
every State-and-Territory-te-make-and-enforee- contracts, to-sue, be-paries, 2ive-
evidence-and+e-the full-and-equal-benefit of all laws-and-proecedings-ferthe-
security-of persons-and-property-as-is-enjoyed-by-white-citizens, and-shall-be-
subject-to-like punishmentpains,penalties—taxes,leonses,-and-exactions of every
kind,-and-e-ne-other-

——_—_—23-—---The-Equal-Pretection-Clause-ofthe Fourteenth Amendment-eommands-that-no-dtate-
shall-“deny-te-any_person-within- ts jurisdiction the-equal-protection of the laws, -which-is-
essentialhy-acirection-that all persens-shnilary situated should -be-treated- altkeCity-ef Clebume-

quoting Phder--Dee4157-L-8, 202, 216,-102-S-Ct 2382, 2394,-F7-E:
2422, Pursuant to 42 U.S.C. §1983:

19

Every person who, under color of any statute, ordinance, regulation, custom, or
usage, of any State or Territory or the District of Columbia, subjects, or causes to
be subjected, any citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any rights, privileges, or immunities secured by the
Constitution and taws, shall be liable to the party injured in an action at law, suit in
equity, or other proper proceeding for redress, except that in any action brought
apainst a judicial officer for an act or omission taken in such officer's judicial
capacity, injunctive relief shall not be granted unless a declaratory decree was

violated or declaratory relief was unavailable.

42 U.S.C. §1983.

2523. “[Ijn any §1983 action the initial inquiry must focus on whether the two essential
elements to a § 1983 action are present: (1) whether the conduct complained of was committed by
a person acting under color of state law; and (2) whether this conduct deprived a person of rights,
privileges, or immunities secured by the Constitution or laws of the United States.” Parratt y.

Taylor, 451 U.S, 527, 535 (1981) (overruled in part not relevant here, by Daniels vy. Williams, 474

USS. 327, 330-331 (1986)).
2624. “The traditional definition of acting under color of state law requires that the
defendant in a § 1983 action have exercised power “possessed by virtue of state law and made

possible only because the wrongdoer is clothed with the authority of state law.’” West v, Atkins

487 U.S. 42, 49, 108 S.Ct, 2250, 2255, 101 L.Ed.2d 46 (1988) (quoting United States v. Classic,

313 U.S. 299, 326 (1941)). See Gentry v. City of Lee's Summit, Mo., 10 F.3d 1340, 1342 (8th Cir.

1993).
2725, Representatives-ofthe-Cit+ of Pagedale-The defendant acting under color of state in
their an official capacities, have knowingly acted with deliberate, intentional and reckless

disregard for the rights of Plaintiffs under the U. S. Constitution and-42-U-8-C--$-1981by targeting

20

Plaintiff for disparate and unequal treatment, including but not limited to: (1) refusing-teissue-an-
accupaney-permnit-for1539-lars--(2)-writing repeated citations for ordinances that did not apply or
had been revoked; (3) writing repeated citations for ordinance violations based upon false
statements; (4) failing to allow Plaintiff to enjoy the use of her properties at 1539 Faris; (5)
damaging Plaintiff's property; avd-(6) restricting the Plaintiff's legal use of her property;_and (7).

the defendant violated consent decree for case 4: 15-cy-01655-RWS ~

2826, Plaintiff has been damaged and is entitled to recover compensatory and punitive
damages,-as-well-as-attermeys tees, expenses-and-costs-pursuantto-42-W8-6-$1088.

WHEREFORE, Plaintiff respectfully requests that this Court enter its final judgment and
order of damages, in an amount to be determined at trial, including compensatory and punitive

damages, awarding-Plamtiffatter ses-and-coste-ineurred-herei-and for such other

and further relief as this Court deems just and proper.

29.--Plaintiffincerperates-herent-by-reference-paragraphs +28 -abeve-
30-—-—Federa law, 42-L-S-6-$8

if-twe-ermere-persens-is-any State-or-Lerritery conspire-or-go-in-disguise-on the-
hiehwayor-on-the-premises-ofF-another, forthe-purpese-of depriving, either directhy-
or indirecthy-amy_person_or-class-of persens-ef the-equal-pretection-of the laws,or-
ofequal-privileges-and-immunities underthe laws-or forthe purpose of preventing
or-hindering the constiiuted-authorities- of any-State-or _Tertioryfrom-2hine-or-
securing te-all-_persens-wathin-such-State-or-Permtery-the- equal _protection-oF the-
laws-oriftwo-ormere-persons-conspire-te-prevent-by-foree, intimidation, of threat
any citizen-whe-istavtully entitled to-vete-from-giving-his-support-or-advecacyin-
a-tegal meanner;toward-orintavor-ofthe-clection- of any-lawialby-quaiitied-persen-
as-an-elector-for President-or-ice-President-or-as-a Member-of-Congress-of the-
United States-or-to- dnpure-any citizer-in-persen- or -propers-or-accauit-ofsuch-
support-eradvocaey-in-anyease- of conspiracy-set forth inthis section, it one oF
more-persons-engaped therem-do_-or-cause-te-be-done, any actin-furtherance of the-
object-of such-censpiracy whereby another isimpured-in-his-person-or-property; or-
deprived-of- having-and- exercising any-ticht-orprivilege- of a-enizen-of the United
States, the party-so-injured-or-deprived-may-have-an-netion forthe recovery-of-
damages-oceasioned-by-such-injury-or deprivation-againstanyone-ormore-of-the-
conspiraters:

ai

34.----Representatives- of the-Ciy-of Papedale-actingimdercolor of siate- athe oficial
expacities- have-knewighy acted, individually and-in-conspiracy-with-one-another -with- deliberate,
intestionalandteckless-disrepard forthe rights-of Plain tunder-the-Ls,-Censtitaien- and 42-
U-8-6-§1081-by-tereetine- Plemtiff for-disparate-and-unequal-treatment- and by subjecting her-te-
excessive -harassment-by-law-enfereement-Therefore,Plaintit? brings this action under 42-4.5,C-
$1085.

33 Plaintiff has-been - damaged and-is-cntitied-te-recover-compeniater;-and-_punittee-
damages; aswellns-atterneys--tees--expenses-and-cosis- pursuantio- 42 115-6-81988-

WHEREFORE-Plaintiff respectfully requests that this Ceurt-enter-tis-finaljudementand-
erder of damages, ii-an-ameuntte-be-determined-at-triat incliding- compensatery-and puntive-
damages-awarding Plain her attomeysfees, expenses-and-costs-ineurred herein, and -for-such-

COUNTHL—BECLARATORY HIDGMENT

——_—34----The-Deeclaratery-Judement-Aet-states“in--case-of actual contraversy-wHhi-ts-
jarisdiction----any-court-of the United States upen-the-filing of an-appropriate-pleading may

declare-the-tights-and-othertlepal-relations-of- anyinterested-party-seelane-such-deelaration-

4539-Poris_there exists an-actual-substantiel-and-presenth-existinge-controversy-admitting- of
specific reliefas-distinguished from-an-advisery-or- hypothetical situation aste-the-enforceabrit-of
the City’s-erdinances--herefore-declarateryjudement-s-appropriate.
WHEREFORE.-Plaintiff respeetfulhy requests-that this Court enter is-tinal-judement-and-
order-declaring the -Gity-has-ne-autherity te-prevent-or-prohibit- Plamtif or-hermtees-and-
guests trom awfully parkine thei-vehicles-at 1539 Faris--()-tor Plainth ts attorneystees--
expenses-and-cosis inewred herein, and-tiii)-for-sueh-other-andfurther celet as this Court-deems-

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jus-and-preper:

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IV. Relief

I bring this suit to vindicate my fundamental civil rights, obtain general compensatory; general
and punitive relief to ensure that my rights are not violated again, and obtain relief from Hlegal-and

intimidatineviolation of my civil rights-actiens by the defendants.

I specifically requests:

1. For an issuance of preliminary and permanent injunctions restraining defendants from
acting in furtherance of policies, practices, or customs that violate my rights under the Due
Process Clause of the Fourteenth Amendment to the U.S. Constitution or that exceed the
powers and authorities of the City of Pagedale and persons working under authorities of the
City of Pagedale.

2-~Per-ar-aware-oF S-1000,00-oractual damaves-te-ne-trespassing signs,

3.2. Fer-araward- ef damages-in-the- ameoun-of $8,65-7-00-for- being deprived oflegaluse ofa
land-durins-extended-periods)throueh-intimidation-For an award of $60,000.00 for

general compensatory damages for being deprived of legal use of my land and

destruction/removal of private property.
4.3 Punitive damage Gr-an-amount-comparable-with- punitive damages in other-similar end
eases} in the amount of $500,000.00 to deter the defendant from similar conduct in the

future.

Do you claim the wrongs alleged in your complaint are continuing to occur now?

Do you claim actual damages for the acts alleged in your complaint?

Yes DX] No

Do you claim punitive monetary damages?

Yes x No

fvalye1539-Faris-at-an-aetal-eost- of £56,65-7,00,-the-price-+paid-_forpurchase oF 1539-
Faris Ave-from- St-Lenis Count Missouri fer-baelctaxesActual damaged are $11,257.00,
calculated by using the purchase price of $8.657,00 and the engineering study cost of
$2,600.00. | cannot state an actual price for deprivation of the 1995 Honda Accord and
nlanis | cultivated on 1539 Faris.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litipation, 2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

Lagree to provide the Clerk’s Office wiih any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’s Office may result in the dismissal of my case.

i declare under penalty of perjury that the foregoing is true and correct.

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Signed this ae a dayof 9, ples be x 720 AL).

QP

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Signature of Paints — ds A A J spl pas Dy f
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A aenek be, Auste Yd

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Si
&

Complaint for a Civii

Case No

Plaintiff requests trial by jury:

xX Yes

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Exhibit A
Page 1 of Exhibit, A

3 NT AND EAS

WHEREAS, there is pending before the United States District Court for the
Eastern District of Missouri, a claim or claims styled, Austell v. City of Pagedale,
Missouri, et al., No, 19-cv-02596-SRC, and

WHEREAS, Plaintiff, Janet Austell, asserts liability in such claim(s) against the
City of Pagedale, Missouri and certain individual City personnel based on a claim of
alleged civil rights violation and other claims, while the City and its pezsonne! deny such
claims and maintain that any matter complained of therein either did not occur or was
reasonable and subject to affirmative defenses, and

WHEREAS, the parties wish to fully resolve their dispute,

NOW THEREFORE, in exchange for the mutual promises, terms, and conditions
hereof, the receipt and sufficiency of which is hereby acknowledged, the parties hereby
enter into this Settlement and Release and apree as follows:

1. Plaintiff Janet Austell shall forthwith voluntarily dismiss, without prejudice, all
named defendants with respect to the claim except for the City of Pagedale, Missouri.
Plaintiff shall further provide forthwith a signed waiver of any Medicare or any other
liens, and hereby represents that there are no liens on any proceeds of the referenced
litigation or the claims asserted therein, Plaintiff's counsel shall forthwith designate in
writing the name(s) that shall appear as the payee(s) on the draft (referenced in Paragraph
2 hereof}, and shall provide a signed W-9 form with respect to any and all such
designated payec{s).

2, Within approximately twenty-one days of receipt by Defendants’ undersigned
counsel of the referenced voluntary dismissal without prejudice and the referenced lien
form and W-9, Remaining Defendant the City of Pagedale, Missouri, shal! cause to be
paid to Plaintiff, via draft payable as designated in writing per Paragraph 1 hereof, the
sum of Ten Thousand Dollars ($10,000.00), which shall be delivered to Plaintiff s
counsel, or made available for pick-up by Plaintiff's counsel at Defendant's counsel's
office in St, Louis County, Missount, Defendants shall also be responsible for the total
costs of the mediator’s fee,

3. Upon such payment being received by Plaintiff or Plaintiff's counsel, the
referenced litigation and alf claim(s) associated with it shall be dismissed immediately by
Plaintiff, with prejudice, as to all parties, including those who had been dismissed out
with prejudice as well the Remaining Defendant the City of Pagedale, Missouri, with
each party to bear their own fees, costs, and expenses.

4. The Parties agree that policing fairly, with courtesy and dignity, and without bias
is central to promoting broad community engagement, fostering public confidence in the
City of Pagedale, In conducting policing activities, City Of Pagedale law enforcement
officers, including the Pagedale Police Department (“PPD”), will, when providing police

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Exhibit A

Page ? of Exhibit A

and resolve any and all claims that Plaintiff has or might pave against the released parties
or any of them. Plaintiff represents that she has the express authority and direction of her
tenant to enter into this Settlement & Release by which they too releases the City and its
personnel, as set forth above, and that the amicable resolution of the aforementioned
litigation, as well] as the permission(s) stated herein as being provided by Ms. Austell to
her tenant(s), have been recognized and agreed by them to bé adequate compensation and
consideration to him for such release.

7, This Settlement and Release shall be binding upon the parties and their heirs
and representatives, This Settlement and Release shall be governed and construed
according to Missouri law and contains the full understanding of the parties, No other
promises or representations have been made which are not set forth herein,

8. This Settlement and Release is entered into purely :for the convenience of the
parties to avoid the expenses and inconveniences of further dispute. The parties recognize
and acknowledge that this settlement is the most efficient for the parties to resolve this
matter without incurring such expenses. The parties recognize and acknowledge that they
mainiain as @ matter of principle their respective positions regarding the underlying
merits of the claim at issue in the litigation. Neither this Settlement and Release nor the
fulfillment of any of its terms, conditions, or promises shail be construed to be any sort of
admission of fault, guilt, or liability by any person or party.

$. The existence and tenns of this Settlement and Release shall remain confidential
and shall not be disclosed or revealed by either party or their counsel except insofar as the
City of Pagedale, Missouri (a governmental or quasi-governmental entity in the State of
Missouri), may be compelted to disclose its existence or terms under the Missouri
Sunshine Law. And any such compelled disclosure by the City shall not operate to relieve
Plaintiff or Plaintiff's counsel or any other person from complying in the future with the
duty of confidentiality, Neither Plaintiff nor her counsel shall initiate or cause to be made
in any way (or solicit anyone else to initiate or cause to be made in any way), any such
disclosure under the Missouri Sunshine Law. There shall be no dissemination in the form
of discussion, publication, advertising, or publicity of any kind, direct or indirect, of the
existence of, or any of the terms of, this settlement, In the event any party is asked about
the matter, they may respond “The matter has been resolved.” and not thereby be in
violation of this Settlement and Release,

10. This Settlement and Release is entered into by the parties after consultation
with their counse!, and shall not be deemed to be drafted by either party. This Settlement
And Release is subject to ratification by the City’s governing body.

27

Eshibic A

Page 3 of Exhibit A

SO ENTERED INFO this 1* day of April, 2020.

j Janet Austgi}, Plaintiff 7

tate: April t, 2020

| Jay L. Kanzler, Counsel for Plaintiff

| Xie LWI~ ALS date: April 1, 2020

Cy i

A

Counsel for Defendant

Ratified Quere or Reebave. _, a Missourt Muassica ACE TH

i oe Apia

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| MAKEMMODELIBODY

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Exhibit C

—
Or. J anet L. Austell Exhibit Response to Warning L?JEN-21 (PI)
1149 Orchard Lakes Drive
ot, Louis, MO 63146
June 26, 2021

Re: 1539 Faris AVE; Warning of Vehicle Considered Abandoned -

Dear Office Lowman and City of Pagedale,

On June 7, 2021, you put a warning notice on the vehicle identified i in the :
picture shown in Exhibit A. This is my respectful attempt to advise you that a
you have made a mistake. Please be advised that this vehicle j is jicensed i in
the state of Missouri (as shown i in the picture labeled as Exhibit B), not
abandoned, and parked o on private property. ad

This letter i is ‘to advise you: that your warning notification is is a mistake, this
vehicle is not abandoned. Please be advised that’ | am giving notice. that a.

~ continuation of actions relating to this vehicle will be perceived by me as.
harassment by you and individuals working on behalf of the City of Pagedale,
To help you understand my perspective, please review settlement agreement.
for Case No. 4: 19-cv- -02596 SRC, JANET L. AUSTELL, Plaintiff(s), v. CITY OF:
PAGEDALE, et al. , Defendant(s). Continued efforts i in regards. to: this matter uh
will result in me filing another civil case for violation of my civil rights and
settlement for Case No. 4: 19- “CV -02596 SRC,

D . Janet L. Austell

Chief of Pagedale | Police - Department
File

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Exhibit D

Wal ite Officdr Record
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PAOEDALE, HISSOLIRI /. [W2190390
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TAT | BAVE TROSAULE CAUSE FO BELASE Ta!

CASA LIELFE iData} AT FRE BP DtAE HEAR (LEC ATHOE]
MO/1L/2078 L031 [CST 1539 PARIS AVE

WITHIN GIT? / COUNTY AND STATE AFORESAID,
FASS ILABT. FIRST, MULE]
AUSTELL, JANET, LARICE

SIMEZT AGHRESS

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TE SRG APE TREE ti “aie - Tan

Weed Violation

WHE FACTO DurPadting has Bene ARE AS mbes 2

VIGLATHON OF 2520,050 TEMOVAL OF. BEDRIS--PROPERTY FREE
FROM WEEDS. DRY BRUSH, DEAD VEGETATION, HASH, JUNK &
DEBRES. {FOR MORE INFO SEE PICTURES @& CITY HALL 10-11-202

ORF IC ER . * oo PEAOGE: Prades ee TATE
fst Po CONLEY - : .: FOR 54S bos £/2024
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31

Exhibit E
Page | of Exhibit B

Section 520.010 Adoption of Abandoned Residential Property.

owed Ne, 1499 SE Hee one]

It fs we purpose and Intent of the Cley of Pagedale, Missourt, through the adoption of this Chapter, to establish an
atandoned residential property registration program as a mechanism to protect residential neighborhoods from becoming
blighted through the lack of adequate malntenance and security of abandoned properties,

Section 520.020 Definitions.

FOr, Pes, 1430 02, 1-H 29 |
For the purposes of this Chapter, certain words and phrases used in this Chapter are defined as follows:

ABANDONED
A property that is vacant and is under a current Notice of Default and/or Notice of Trustee’s Sale, pending Tax
Assessors Lien Sale and/or properties dkat have been die subject of a foreclosure safe where the ttle was retained by
the benefldary of a deed of trust Involved In the foreclosure and any properties transferred under a deed in lieu of
foreclosurefsale,

ACCESSIBLE PROPERTY
A property thatis accessible through a compronised/breached gate, fence, wall, etc,

ACCESSIBLE SFRUCTURE
A structurée/bullding that is unsecured andfor breached in such a way as to allow access to the interlor space by
unauthorized persons,

AGREEMENT
Any agreement or written instrument whids provides that tile to residential property shall be transferred or
conveyed from one owner to another owner after the sale, trade, transfer or exchange.

ASSIGNMENT OF RENTS
An instrument that transfers the beneficial interest under a deed of trust from one tenderfentity to another.

BENEFICIARY
Alender tinder a note secured by a deed of trust,

SUYER
Any person, co-partnership, assodation, corporation, or fiduciary who agrees to transfer anything of value In
consideration for property described in an agreement of salé, as defined In this Subsection.

DANGEROUS BUILDING
Any bultding/structure that fs iv violation of any condition referenced in ie Pagedile City Code andfor any conditien
deenved to be dangerous by a City of Pagedafe offictal, inspection officer, Police Officer or Pagedale Municipal Court,

DAYS
Consecutive calendar days.

DEED IN LIEU OF FORECLOSURE/SALE
Arecorded document that transfers ownership of a property from the erustor to the folder of a deed of trast upon
consent of the beneficiary of the deed of trusk

DEED GF TRUST
An Instrument by which tlle ¢o real estate is transterred to a party as securlty for areal estate Joan. This definitlon
apopiles to any and ail subsequent deeds of teust ie. and trust deed, 3rd trust deed, etc

DEFAULT
The failure to fulfill a contractual obligation, monetary or conditional

DISTRESSED
Aproperty that is under a current Notice af Default aad/or Notice of Thestee’s Sale andar pending Tax Assessor's Lier
Sale or has been foreclosed upon by the trustee or has been conveyed to the beneficiary/trustee via a deed in fieu of
forectosurc/sale.

EVIDENCE OF VACANCY
Any condition that on its own or combined with other conditions present would lead a reasonable person to belleve
that the property Is vacant Such conditions Include, but are aot timlted to, overgrown anidfor dead vegetation,
accumulation of newspapers, drculars, flyers andor mall, past due utility aotlces andor disconnected utilities,
accumulation of trash, junk and/or debris, the absence of window coverings such as aatains, blinds and/or shutters,

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Exbibit E
Page 2? of Exhibit E

the absence of furnishings and/or personal items consistent with residential habitation, statements by nelghbors,
passersby, delivery agents, goverriment employees that the property is vacant.

FORECLOSURE
The process by which a property, placed as security for a real estate loan, is sold at auction to satlsty the debt if the
tcustor (borrower) defaults,

LOCAL
Within forty (40) coad/driving nules distance of the subject property.

NEIGHBORHOOD STANDARD
Those conditions that are present ona simple malority of properties within a three hundred (00) foot radius of an
individual property, A property Ehat is the subject of a neighborhood standard comparison, or any other abandoned
property within three furdred G00} foot radius, shallot be counted toward the simple majority,

NOTICE OF DEFAULT
Asecorded notice that a default has occurred under adeed of drust and tial the beneficiary intends 0 proceed with a
trustce’s sale,

OUT OF AREA
Inexcess of forty (49} roadjdriving mulles distance of the subject property.

OWNER
Any person, co- partnership, assocktion, corporation, or fiduclary having a legal or equitable tithe or any interest In any
real property.

OWNER OF RECORD
The person having recorded title to the property at any given point in Hime the cecord is provided by the St. Louls
County Records Office.

PROPERTY
Any unimproved or Improved real property, or portion thereof, situated fa the City and inckides the buildings or
Sructures focated on the property regardless of condition.

RESIDENTIAL BUILDING
Any improved real property, or portion thereof, situated In the City, designed or permitted to be used for dwelling
purposes, and shal! include the bulldings and structures facated on such Improved real property. This Includes any real
property being offered for sale, trade, transfer, or exchange as "residential” whether or not It fs legally perriitted
andor zoned for such use,

SECURING
Such measures as may be directed by an official from the City of Pagedate andfor St. Louis Couaty or his or her
designee that assist in rendering the property inaccessible to unauthorized persons, including, Hut iat limited to, the
repairing of fences and walts, chaining/pad locking of gates, the repalr or boarding of door, window and/or other
openings. Boarding shall be completed to a minimum of the current HUD securing standards at the time the boarding
completed or required.

FRUSTEE
The person, firm or corporation holding a deed of trust ona property.

TRUSTOR
A borrower under a deed of trust, who deeds property to a trustee as security for the payment of a debr.

VACANT
A building/structure that is not legally occupied,

Section 520.030 Registration With St. Louis County Recorder's Office.

Ord. No. £430 G3, TM 20077

Withic: ter (10) days of the purchase and/or transfer of a toanfdeed of trust secured by residential property, the new
benediclary/trustee shall record, with the St, Louis County Recorder's office, an Assignntent of Rents, or similar documents,
that lists the name of the corporation and/or individual, the mailing address and contact phone number of the new
benetkiary/trustee responsible for receiving payments associated with the loanfdeed of trust.

Section 520.040 Inspection of Property.

2 PUR tea T

ford. Me. tay

A. Any beneflciary/inustee whe holds a deed of trust on a property focated within the City of Pagedale, Missouri, shall

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Exhibit E
Page 3 of Exhibit E

perform an inspection of the property that ts the secerity for the deed of trust, upon default by the testor, prior to
recording a Notice of Default with the St. Louis County Recorder's office, tf the property is found to be vacant or
shows evidence of vacancy, It Is, by this Chapter, deemed abandoned and te beneficiaty/trustee shall, within ten (10)
days of the inspection, register the property with the City of Pagedale and St. Louls County on forms provided by the
City,

lf the property is occupied but remains in default, it shad ba inspected by the beneficlaryfirustee, or his designee,
monly untis
1. — The trestor or other party remedies the default; or

2 eis found to be vacant or shows evidence of vacancy at which thme it Is deemed abandoned, and the trustee
shall, within ten (30) days of that inspection, register te property with the City of Pagedale and St. Louis County
on Fornis provided by the city.

C. In elther case the registration shall contain the name of the beneticlary/trustee (corporation or individual}, the direct

streetfoffice mailing address of the benefician/teustee (no P.0, Boxes), a direct contact name and phone number tor
the beneficiarytrustee and, In the case of a corporation or cut of area beneficanycnustee, the local property
management company responsible for the security, maintenance and marketing of the property. Registration fees will
nat be prorated.

An annual registration fee shal} accompany the registration form, The tee and registration shalt be valld for the
calendar year, or retaining portion of the cafendar year, in which the registration was initialy required. Subsequent
registrations and fees are due January first (1st) of each year and must be received no tater than January thirty-first
(gist) of the year due,

This Section stall also appl to properties that have been the subject of a forectosure sale where the dtle was
transferred to the beneficiary of a deed of trust Involved In the forectosure and any properties transferred ender a
dead in teu of foreciosure/sale,

Properties subject to the Chapter shaif reaiain under the annual registration requirement, security and maintenance
standards of this Section as tong as they remain vacant.

G. Any person, iim or corporation that has registered a property under this Ctrapter must report any change of

flr. No, T48uS5, Pent.

A.

formation contained in the registration within ten (10) days of the charge.

Section 520.050 Removal of Debris.
ae]

Properties. subject to this Section shall be, In comparison ta the nelghborhoad standard, kept free of weeds, dry
brush, dead vegetation, trash, funk, debris, bullding materials, any accumulation of newspapers, Circulars, flyers,
notices, except those required by Federal, State or focal taw, discarded personal items Including, but not limited to,
turniture, dothing, targe and small appllances, printed material or any other items thet give the appearance that the
property Is abandoned.

B. The property shall be maintalned free of graffiti, tagging, or similar markings by removal or palnting over with an

exterior grade paint that matches the color of the exterior of the structure,

Visible front and side yards shall be landscaped and maintained to the neighborhood standard at the time registration
was required.

BD. bandscape lackides, but is aot fimited to, grass, ground covers, bushes, shrubs, hedges or similar plantings, decorative

rock or bark or artificial turf/sod designed specifically for residential instalation.

Landscape does not inckide weeds, gravel, broken concrete, asphait, decomposed granite, plastic sheeting, nvulch,
Indoor-outdoor carpet or any similar material.

Maintenance Includes, but is not limited to, regular watering, irrigation, cutting, pruning and mowlng of required
landscape and removal of ail teintmings.

G. Adherence to this Section does not relieve the beneficiarytrustee or property owner of any obligations set forth in

(Ord. ite TAaG!

A

any covenants, conditions and restrictions andjor homeowners assaclatton rules and regulations which may apply to
the praperty,

Section 526,060 Security of Property.

» OO |

Properties subject to this Section shall be malntalned In a secure manner so as HOt te be accessible to unauthorized
persons.

8. Secure nianner Inctudes, but is not limited to, the dosure and locking of windows, doors (walk-through, sliding and

garage), gates and any other opening of such size Ena # may allow a child te access the Interior of the property and/or

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Exhibit E
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structurefs}. In the case of broken windows, securing means the regiazing or boarding of the window,

if the property Is owned by a corporation and/or out of area beneficiary/irustee/owmer, atocal property management
company Shall be contracted to perfor weekly fispections bo veaily that the requirements of this Section, and any
other applicable laws. are being met,

The property stall be posted with name and twenty-four (24) hour contack phone number of the focal property
management company. The posting shal be no less than eighteen (18) Indies by twenty-four (24) inches and shak be
of a font that is legible froma distance of forty-tive (45) feet and shall contain atong with the name and twenty-four
(24) hour contact sumber die words ‘THIS PROPERTY MANAGED BY and TO REPORT PROBLEMS OR CONCERNS
CALL”, The posting shalt be placed on the intedior of a window facing the street tc the front of the property so lt Is
visible from the street, ar secured to the exterior of the budding/structure facing the street to the Front of the
property soit is visible from the street er if no such area exists, on a stake of sufficient size to support the posting In a
focation that § visu from the street to the front of Ge property but not readily accessible to vandals. Exterior
posting must be constsucted of and printed with weather-resistant materials,

The local property management company shall inspect the property on a weel’y basis to determine if the property Is
in compifance with the requirements of this Chapter

Section 520.070 Additional Enforcement Remedies.

{Ord he, 7989 4s, haze

tn addition to the enforcement remedes established in the Pagedale City Code, the City of Pagedale shell have the
authority to require the beneficiaryfoustee/owner and/or owner of record of any property affected by this Chapter, to
iniplement additional maintenance andjor security measures including, but not fmited to, securing any/all door, window or
other openings, Installing additional security ligheng, Increasing on-ske inspection frequency, employment of an on-site
sequity guard or other measures as may be reasonably required to arrest de decine of the property,

Section 520.080 Fees.

fiird, hun

TAR PE, HE}

The fees for registering an abandoned residential property shail beset by resciution of the Hoard of Alderpersons.

Section 520.090 Violations and Appeals.

A

fond. Mo. 1459 S69 — PE, RE-2OS j

Violations of this Chapter may be enforced In any combination as alowed in tie Pagedale City Code.

Any person agerfeved by any of the requfrements of this Chapter may appeal insofar as such appeal Is allowed under
the Pagedale City Cade.

Violations of this Chapter shalt be treated aé a strict liability offense regardless of inteat. Any person, firm andjor
corporation that violates any portion of this Chapter shai be subject to prosecutlon andjor adnintstrative
enforcement permitted under the Pagedale City Code for rutisance properties.

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- Ext bit F

Dr. danet L. Austell
1449 Orchard Lakes Drive
St. Louis; MO.63146

: November. 4, 2021

RE: 1639 Faris AVE, Warning of Violation of #520, 050 Retnoval of Debris.
‘Dear Chief of Police; Officer. Conley, and City of Pagedale, .

‘After 4 recaived your warning and was ‘unable to: view pictures referenced in your
notification, I had 4 video. taken which is available.at © :

: not contain trash; junk,” and debris. You should also be aware that the north and south:
. fences belongs to neighboring property owners. My lawsuit: (Case.NO. 4:19-CV- 02596, ...
JANET AUSTELL V. CITY. OF. PAGEDALE) and communications. io you (prior to” :
2021) established thal Vegetation does. not violate any ordinances. of the City of
oe Pansdale, : .

“Pagedale, 4: 18- CV-01655.

This video. clearly shows that my property does we

jam asking that representatives with the City of f Pagedate stop harassing Wi me with oo .

unjustified and possibly illegal warnings, citations, and/or communications. {|

receive another harassing communication of any type fromthe City of Pagedate, | will
- glart legal process to reinstale my civil nights lawsuit, [will also file a federal case for ihe. :
Gity of Pagedale violating the consent decree issued in in Whither at al . City ¢ of
Pagedale, Ait8- Cv. 01655. a

sinesrely,

© étL. Austell pM Is IST nea .

Email.

Co.
. day Kangler, Attomey atLaw.

Chief of City Pagedale Police Depariment
Mayor of City of Pagedale |

Officer Conley

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Exhibit H

pr, Janet i. ‘Austell.
"4449 Orchard Lakes Drive -

.. St Louis, MO 63146. :

August 28, 2022:

RE 1539 Faris AVE: Waning of Violation of wsove0aH

Dear Chief of Police, Officer “Cull, and City of Pagedale, ° Se 2

J received your warning posted on the Honda Accord parked at 1839 Faris, Pagedale,
~ MO, 63133, This is my final warning for you to stop harassing me about a legally ce
: tegisterediicensed vehicle ‘parked on (ry private properly. - oe

This is the third wamingicitation j have received. concerning private property of (or.
" focated on) 1539 Faris. in 8 months. These warnings/citalions continue to. demonstrate. -
pattems of harassment by ihe City of Pagedale rapresentatives. In my previous civit.

- fights filings for violation of my fights (Case NO, 4:19-CV-02596, JANET L. AUSTELL Vo

~~ GITY OF PAGEDALE), { established that officials with the oly of Pagedale, have no Toe
legal rights | fo dictate my legal use of my property. oo

fam asking that representatives. with the City of Pagedale stop hatestini me. with oo oe

‘unjustified and possibly egal wamings, citations, and/or communications. As of
today, | have started the process of reinstating | Case NO, 4:19-CV-02596, JANET L.:
AUSTELL V. CITY OF PAGEDALE and filing a legal complaint about the City of

Pagedale violating the. consent decree issued | in Whitner etalv, Gly of Pagedale, 4 15 oe

CV-01655.

Sincerely,

anal tA ‘Austell, DMIST.
‘Email; JAUSTEL LL@ICLOUD.COM -

ce:
Jay Kanzler, Attomey at Law oo
Chief of Cily Pagedale Police Department
Mayor of City of Pagedale
Officer Cull —

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Exhibit |

Winer nisi Vintator's Copy
JAGLDAEE POLL ~~ "
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VACANT LOT THAT NEEDS TO BE cur us

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Wa ATS ‘Sine TURE

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Exhibit J

Page | of Exhibit J

From: Sam Alton sam@stlinjured.com
Subject: Re: Vehicle and Property Maintenance at 1539 Faris,

Pagedale, Missouri 63133 ("Property")
Date: Sep 18, 2022 at 4:29:53 PM
To: Dr. Janet Austell jaustell@icloud.com
Cc: Janet Austell drjaustelt@qmaii.com

i have photos taken days ago showing flat tires and busted windows. It would not pass
inspection. It is clearly not operable. if it is- why not just move it to your properly where you
five? We are trying to-do all we can to avoid a legal battle that will cost everyone money. Why
not just move it? We don't want td procead legally. Wa aré simply asking you to remove the
vehicle- to the extent you can. Other than looking for a fight with the City- | can't understand
why you woudn't simply move it or let us move It.

Again- j want to emphasize the City is not lodking for a fight. We are simply trying to addrass
concerns and maintain the City. Gan you help us and remdve your vehicle?

From: "Dr. Janet Austell” <laustell@icloud.com>
Date: Sunday, September 18, 2022 at 4:25 PM

To: Sam Alton <sam @stlinjured.com>

Ce: Janet Austell <dyjaustell@gmail.com>
Subject: Re: Vehicle and Property Maintenance at 1538 Faris, Pagedale, Missouri

63133 ("Property")

Dear Sir,
itis not a derelict vehicle.

Dr. Janet L. Austell

On Sep 18, 2022, at.4:23 PM, Sam Alton <sam@stliniured,com> wrote:
Dr. Austell:

Why do you want to keep a derelict vehicle that nobody drives where nobody iives and that
you know irritates the family that lives af 1541 when you don't live at the City of Pagedale any
longer? To simply irritate ihe City and/or other residents? It makes ne sénse. You will receive
the applicable ordinances in the violation notica(s) and application for an adniinistrative
warrant. Sadly, this can all be avoided if you wilt simply move your deréfict vehicle.

Have a great weekend.

From: "Dr. Janet Austell” <jaustel| @icloud.com>
Date: Sunday, September 18, 2022 at 4:19 PM
To: Sarn Alton <sam@stiinijured.com>

Ce: Janet Austell <drjaustell @ qmail. com>

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Exhibit J
Pace ? of Fochibit J

Subject: Re: Vehicle and Property Maintenance at 1539 Faris, Pagedale, Missouri
63133 ("Property")

Mr. Alton,

This vehicle is legally licensed in the state of Missouri. This 1995 Honda Accord is
insured as required by Missouri state statue. This vehicle is operational and passed
Missouri state inspection.

The mirror is broken on this vehicle as a result of the illegal towing performed by the
City of Pagedale and Eddie's Towing. This broken mirror was documented by my son's
attorney when the vehicle was retumed. | suggest you reference case number 4:19-
cv-025936 for more information.

This vehicle has been vandalized by the neighbors residing at 1541 Faris. Previously a
police report was filed {reporting vandalism) with Pagedale Polica Department (PPD).
PPD did not take any investigative action on this report. If PPD had performed basic
investigative actions they would have uncovered video proof (and eyewitnesses) of this
vandalism. Prior ta repeated vandalism this vehicle had an estimated value of $2,500.
Before, vandatism | had 2 offers from neighbors to buy this vehicle that | was
considering. Currently, | am in the process of looking for a replacement (rear passenger
side) window.

As per my previous settlement with the City of Pagedale you have no rights to dictate
my legal use of 1539 Faris Ave. Where | live does not have any impact on my use of
1539 Faris Ave. Your statement of “ The family living at 1541 Faris complains about the
vehicle- justifiably so- on a daily basis." is your issue to resalve,

| will replace the window in this 1995 Honda Accord as soon as | can find (an
affordable) replacement. | will continue to use my driveway at 1539 Ave in a fegal
manner. Flease provide me with the ordinance(s) that states, | cannot park a properly
licensed vehicle on my property.

You do nat have my permission to remove this tegally licensed, insured, inspected,
and operational vehicle. | will fix the window. [am an elderly person that has done my
duty to maintain my property. If there are ordinances covering our current situation
please provide it immediately.

Or, Janet L. Austell

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Exhibit J
Page 4 of Exhibit J

On Sep 18, 2022, at 3:12 PM, Sam Alton <sam@stlinjured. com> wrote:
Ms. Austell:

My name is Sam Alton and | represent the City of Pagedale, Missouri (“City”). i can’t teil if
you have an attorney or not- Mr. Kanzler- however, if you do, please forward this email to
him,

i have reviewed your undated correspondence alleging harassment and “illegal warnings”
from the Clty regarding the Property. 1am also aware of your intaraction with the City in the
past. All we are trying to do is maintain the City in a clean, safe and code compliant manner.

it is clear fram recent pictures of the Property | have reviewed that the Property contains
overgrown vegetation. Additionally, the stand-alone driveway that abuts the residential home
of a City resident contains a derelict vehicle that is clearly inoperable, has been there for
years and constitutes a dangerous nuisance not only for the family living at 1541 Faris but
for children and residents living in the area. This vehicle has been parked in the standalone
driveway for years. Its tires are flat. The mirrors and windows are broken. The family living
at 1541 Faris complains about the vehicie- justifiably so- an a daily basis.

The City does not wish to escalate a legal battle with you; however, the City is requesting
that you either simply remove the vehicle from the Proparty or grant the City permission to
tow the vehicie. If the latter, the vehicle will not be disposed of or further destroyed. It will
simply be removed from the Property immediately.

Piease respond within three (3) business days as to whether you will remove the vehicle
from the Property or grant the City permission to remove the vehicie from the Property. If
you do not respond nor grant the City permission, please be advised that the City will
proceed with an application to obtain an administrative warrant to enter the Property and, if
the warrant is obtained, the City will remove the vehicle,

It is clear that neither you nor any family member remain in the City. The car is derelict. ttis
non-operational. On behalf of the City and the family at 1541 Faris, we are simply asking
you to be a good neighbor and allow the City to remove the vehicle.

Your response is appreciated.

ZO

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Sam Alton
Gity Attorney
City of Pagedale, Missourl

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Exhibit K

‘ag EHE Cige UE Gouin ae Papedale Municipal Court ceartrie ho PF ,
COUNT ALGRENS [Bieedl, City cope LO HE
1429 FERGUSON Ae PAGEDALE, $40, 63433 —
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3/26/2021

Exhibit L
Page | of Exhibit L
Page 1 of Ordinance/Code Chapter 500

Cy of Pegedale, MO Ecode360

Cily of Pagedale, MO
Friday, March 26, 2021

Chapter 500. Building Codes and Building Regulations

Article |. County Codes
Section 500.010. Adoption of County Codes.

[CC 2000 §500.010; CC 1990 §505.010; Ord. No. 7155 §1, 2-11-1999; Ord. No. 1188 §1, 9-44-2000;
Ord, No. 1206 §1, 4-42-2001; Ord. No. 1215 §1, 11-8-2001; Ord. No. 1264 §1, 11-13-2003; Ord. No.
1313 §1, 9-8-2005; Ord. No. 1314 §1, 9-8-2005; Ord. No. 1315 §1, 9-8-2005; Ord. No. 1316 §1, 9-8-
2005; Ord. No. 1320 §1, 11-10-2005; Ord. No. 1330 §1, 11-29-2005; Ord. No. 1460 §1, 9-9-2010; Ord.

No. 1623, 4-25-2018]
A. Adoption of County Codes in St. Louis County:
1. “Building”,
2. "Residential",
3. “Existing Building”,
4, "Electrical’,
6. “Explosives”,
6. "Mechanical",
7. "Plumbing",
8. "Property Maintenance’, and

9. “Land Disturbance”

Codeis) as amended by the County of St. Louis through date of last amendatory

ordinance(s):

County Ordinance 24,444 — July 21, 2010,
Caunty Ordinance 24,427 — July 13, 2010.
County Ordinance 24,444 —— July 27, 2019.
Counly Ordinance 24,439 — July 14, 2010,
County Ordinance 18,693 -—- November 12, 4897.
County Ordinance 24,438 — July 14, 2010.
County Ordinance 24,441 — July 14, 2010.
County Ordinance 24,440 — July 14, 2010.
September 21, 2005

respectively is/are hereby adopted as the:

1. "Building",

CRN OOP YN >

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3/26/2021

Exhibit L
Pave ? of Exhibit L
Page 2 of Ordinance/Code Chapter 500

City of Pagedale, MO Ecode360
"Residential",

“Existing Building",

“Electrical”,

"Explosives",

"Mechanical",

“Plumbing”,

“Property Mainienance", and

OMNArRenN

. “Lend Disturbance”
Codefs) of the City of Pagedale, Missouri, as if fully set out herein.

Section 500.020. Enforcement of County Codes.

[CC 2000 §509.020; CC 1990 §505.020; Ord. No. 1046 §2, 1-12-1995]

The Mayor of the City of Pagedale is authorized, on behalf of the City of Pagedale, to enter into an
agreement with Si. Louis County, Missouri, Implementing Section 560.010 and permits, inspections,
licenses and approvals thereunder.

Section 500.030. Permits — Inspections — Licensing —
Approval of Plans.

FOC 2000 §500.030; CC 1990 §505,030; Ord. No. 776 §1, 6-13-1985]

A. Permits, Tha County through its Department of Public Works shail issue all permits required by the
codes as set forth in Section 560.010 of this Articia.

B. Jnspections. The County through its Department of Public Works shall execute all inspactions
required by the codes as set forth in Section 500.010 of this Article.

GC. Licensing. The Counly through its Depariment of Public Works shall license all persons as
required by the codes as set forth in Section 500,010 of this Article.

D. Approval Of Plans, The County through its Department of Public Works shall examine all plans to
determine their campilance with the codes as set forth in Section 500.010 of this Article.

Section 500.032. Restrictive Provisions.

{CC 2000 §500.032; CC 1990 §505.040]

If the municipality has adopted provisions applicable fo the services as sat forth in Section 500.019
said provisions being more restrictive than those contained in County's codes, the municipality shall
approve all plans prior to submission to County's Department of Public Works for issuance of permits.

Section 500.033. Regulatory Ordinances.

[CC 2000 §560.033; CC 1990 §505.050; Ord. No. 776 §1, 6-13-1985]
The municipality shall approve all plans for compliance with zoning or other regulatory ordinances prior
to submission to Gounty's Department of Public Works.

Section 500.034. Enforcement of Municipal Ordinance.

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3/26/2027

Exhibit L
Page 3 of Exhibit L
Page 3 of Ordinance/Code Chapter 500

City of Pagedate, MO Ecode360

[CG 2000 §600.034; CG 1990 §505.060; Ord. No. 776 §1, 6-13-1985}

The County shall net take any action, either at law or in equity, to enforce the provisions of
municipality's ordinances as the same shall apply hereto. County shall apply hereto. County shall notify
municipality of any known violations of municipality's ordinances.

Section 500.035. Fee Collection.

[CE 2000 §500.035; CC 1990 §505.070; Ord. No. 776 §1, 6-13-1985]
All fees shall be collected and retained by County's Department of Public Warks.

Section 500.036. Amendments to County Cade.

[CG 2000 §500.036; CC 1990 §505.080; Ord. No. 776 §1, 6-13-1985]

A

Amendments. In the event County shall add fo, delete or amend Sections of the code(s) as sel
forth in Section §00.019 herein, the municipality shall amend its ordinance to make it identical in
substance to County's amended code. County shall supply municipality with a copy of Its
proposed amendment prior to its effective date and municipality shali amend its ordinance within
ninety (90) days of the effective date of said County amendment. in the event County shall fall to
provide a copy of its proposed amendment as provided above, the municipality shail have ninety
(90) days to amend its ordinance after receipt of a copy of County's amendments.

Gertified Copy. The municipality shall supply County with a certified capy of all amendments te its
ordinance within five (5) days of said amendment's effective dates.

Section 500.037. Termination.

FCC 2000 §500.037; CC 1990 §505.090; Ord. No. 776 §1, 6-43-1985]

A.

Failure To Amend. \n the event the municipality shall fail to amend its ordinance as provided in
Section 500.010 herein, this agreement shail be terminated.

Termination For Convenience. Eilhear County or municipality may terminate this agreement at any
time by giving ninety (90) days’ prior written notice to the other party.

Section 500.038. Penalty.

fCG 2000 §500.038]

Any person violating any of the provisions of the codes adopted in this Article shall be deemed gully of
a misdemeanor and upon conviction thereof shall be fined in an amount not exceeding one thousand
dollars ($1,000.00) or be imprisoned in the County Jail for a period of not exceeding ninety (90) days or
both such fine and imprisonment. Each day such violation is committed or permitted to continue shail
constitute a separate offense and shall be punishable as such hereunder.

Article II. Building Commissioner

Section 500.040. Appointment — Term — Duties.

[CC 2000 §500.040; CC 1990 §130.050; Ord. No. 4 §§t, 3, 5, 2-24-1950; Ord. No. 421 §§1 — 2, 10-
44-1974; Ord. No. 459 §1, 3-8-1973; Ord. No. 463 §1, 3-8-1973; Ord. No. 788 §1, 6-27-1985}

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Clty of Pagadale, MO Ecode360

Within twenty (20) days after the election in April of each year or as soon thereafter as practical, the
Mayor may appoint, subject to the approval of the Board of Alderpersons, a Building Gommissioner
who shall hold his/her office for one (1) year or until his/her successor is appointed and qualified,
unless sooner removed from office by the Board of Alderpersons, whose duty it shail be to enforce the
provisions of the Building Code of the City and to perform such other duties as may be provided for by
ordinance.

Article Ill. Miscellaneous Building Regulations
Section 500.050, Earthquake and Seismic Design Requirements.

[CC 2000 500.050]
All construction in the Cily shall comply with the requirements of Sections 319.200 through 319.207,
RSMo., and any amendments thereto, relating fo earthquakes and seismic construction requirements.

Article IV. Sewer Lateral Program
Section 500.060. Establishment of Sewer Lateral Program.

fOrd. No. 1182 §§1 — 3, 6-19-2000]

A. There is hereby established a Pagedale Sewer Lateral Program in accordance. with ihe resuits of
the April 4, 2000 election vole of Pagedale's citizens.

B. The Pagedale Board of Alderpersons hereby establish a policy, a copy of which is on file in the
City offices and incorporated by reference, to effectuate tha sewer lateral program.

Article V. Smoke Detectors

Section 500.070. Smoke Detectors.

(CC 2000 §510.010; Ord. No. 853 §§1 — 3, 3-14-1988]

A, For purposes of this Section, the foltowing definitions shall apply:

SLEEPING AREA
A room customarily intended or usually utilized for sleeping or a combination of rooms
intended for sleeping within a dwelling unit, which are located an the same floor and are not
separated by another habitable room, such as a living room, dining roam or kitchen (but
excluding bathroom, hallway or closet). A dwelling unit may have more than one (1) sleeping
area.

SMOKE DETECTOR
A device of either the ionization chamber or photoelectric type, which detects visible or
invisible particles of cambustion, which emits an audible warning upon detection, which
complies with all specifications of the Underwrilers' Laboratories, Inc., Standard UL217
(Standard for Safety-Single and Multiple Station Smoke Detectors, 2nd Edition, October 4,
1978, as revised May 19, 1983) or any recognized standard testing laboratory that certifies
the detector meats the requirament of National Fire Protection Association (NFPA) Standards
72E and 74, which bears the label of a nationally recognized standards testing laboratory that
indicates that ihe smoke detector has been tested and listed under the requirement of UL277

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City of Pagedate, MO Ecode360

2nd Edition or NFPA 72E and 74, and which is powered by being wired directly to the power
source of ihe dwelling unit or by a self-contained battery power source.

B. Smoke Detectors Required — When.

1. The owner of each dwelling unit prior to any construction, renovation, improvement, sale,
change of ownership or change of tenants or occupants after March 14, 1988, shall install
smoke detectors in said dwelling unit. If smoke detectors already exist in said dwelling unit at
said time, the smoke detectors must comply with the provisions of this Section.

2. Upon the occurrence of any of the events set forth in Subparagraph (1) of this Subsection, the
owner of each dwelling unit shall install at least one (1) smoke detector to protect each
sleeping area, In an efficiency apartment dwelling, the owner shail install the smoke detector
in the roam used for sleeping. in ail other dwellings, the owner shall install the smoke
detectors outside the sleeping areas and on the ceilings in the immediate vicinity of the
sleeping area on the ceiling, at a minimum of four (4) inches from the side wall to the near
edge of the detector and within fifteen (15) feet of ali rooms used for sleeping purposes. A
smoke detector shall be installed on every floor level, Inctuding the basement. Therefor, a
two-story residence with a basement shall have a minimum of three (3) smoke detectors. The
smoke detector in the basement shall be as close as possible to the top of the stairwell.

Any owner ar other person convicted of violating any provisian of this Section shall be punished by
a fina of not less than twenty-five dollars ($25.60) and not more than five hundred dollars
($500.00) or by imprisonment for not more than ninety (90) days or by both such fine and
imprisonment. Each violation relating to each smoke detector, required or otherwise regulated by
this Section, shall be deemed a separate offense.

Article VI. Registration Fee on Owners of Unoccupied
Residential Structures

Section 500.080, Registration Fee on Owners of Unoccupied
Residential Structures.

{Ord. No. 1276, §§14 — 2, 2-12-2004]

A

There is hereby imposed a semi-annual registration fee of two hundred dollars ($200.00) to be
paid by the owner af any residential structure to the City which has been vacant for six (6) or more
months and is in violation of the City's housing or building codes.

Said fee shall be collected by the City as and when it deems fil and any unpaid amounts due
hereunder shail be a lien against the property as which such structure is located.

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Exhibit M

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THE CITY. PAGEDALE

"1420 FERGUSON AVE,
PAGEDALE, MISSOURI 63132

3147264 200 office
31d TAG ZOO# [Ax

DATE: Qetober 3, 2022
NAMI: Br, danet L. Austell.
ADDRESS: 1149 Orchard Lakes Drive. 86. Louls

Sent via email to JAUS TELL GOD ks Yi and Certified <M tm receipt requested

Cc ay Y OF PAG EDAL E, STATE oF MISSOURI

ADDRESS A: 1839 Karis Aves. Papedale, Missouri 63133 (*Property”) mo
Open Storage of Derelict/Inoperable Vehicle-Safety Hazard 25, 640
Failure to Centro! ‘Weeds and Vegetation- 500, O10 and St, Louis
County Municipal Cade Section 619+ a0, 619. 850 and 619, 060 |

Dear Dr, Janet Austell anc Altred Austell:
ho - Dereliet/inoperable and Dangerous Vehicles Alfred Austell -

| AS you are. well awitre, 4 : derelict, inoperable and dangerous, vehicle titled. to Altied Austell
has been abandoned at the Property:a strip of pavement with no residenes, garage or énelosune for
the vehicle and In the name of Alfred Ausieli- for over a year. The tires on the vehicle are flat.
‘The drivet side review mirror and passenger window are destroyed. There is debris in all af the

- wheel wells. We have sotitied you and requested that you remove thé vehicle numerous times.

You refiise- to the detriment of the City, its residents and families that five near and adjacent to the
Property- to remove the vehicle, Children live oral play near this dangerous abandoned vehicle.”
Your refusal to remtoye the abandoned vehicle shows a blatant disregard for the residents ofthe
City of Pagedale ("City") and their safety and Uhh vehicle presents 4 clear salety hazard ip the area,

Section 215.070 of the City Code, Fe owing of Abandoned Property on nPr ivate Real Property os

states, in pertinent part.

A. "Generally, The City, inchuding the.
City Police Department, may tow motor
vehicles from real property which are
deemed a public safety hazard pursuant to
Section 215,048 or are derelict, junk, .
scrapped, disassembled or alhervise

harmful to the public health. The City shall
perform, such tow pursuant to ihe terms of .
Section 2/5880, ,

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Alfred Austell, you are hereby notified, accompanied by the citation issued on September
30, 2022 and attached hereto, that you have five (5) business days to remove the vehicle from the
Property. [you do not remove the vehicle from the Property within §. days, the City will remuve
the vehicle pursiant to section 215 of the City Code. co ‘

11. Weeds and Vegetation- Nuisance- Dr, Janet Austell .

Ir, Janet Austell, as owner of the Property, you have been issued o cilalion for “Failure to
contrel Weeds and veyelation” on the Property pursuant (0 aeetions 500.010 of the Cily Code and

619.010, 619,080 and 619.060 of the 51, Louis County Code governing “Weed Control” A phote
taken September 30, 2022 of the Properly is attached for your reference, Co

You are hereby provided notice to abute the overgrown weed and vegetation at the property
within seven (7) days of receiving the citation and this notice. If you do not abate.the nuisance af
the Property witha 7 days, the Cily will abate the nuisance pursuant to section 619.060 of the St.
Lonis County Code, Dont Se wo

coy “Please understand, the City is simply doing what if can to keep tlie City-aafe and clean. IE

you abate the safety Inavzard by removing the vehicle and abite the nuisance by simply maintaining
your Property. the City will work with you to resolve the citatlons., The City seeks abatement, not

court dates, a “ : SO a a

Respectiully,

Sh a

“Anthony Huckleberry
City of Pagedale, Missouri

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§ CR.010 Cross Reference Table.
fl Code / Ch CR: Cross Reference

.. Superseded/715 596 10-13-1977 1 130.010 599
Superseded/778 609 Repealed/619 610 Repealed/630
611 Repealed/628 612 Repealed/689 616 Repealed/695
618 Superseded/785 619 Repealed/631 620
Superseded 623 Repealed/632 624 12-14-1978 2
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